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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA


                           CIVIL MINUTES – GENERAL
  Case No.    SACV 17-00432 AG (JCGx)            Date                     May 14, 2018
  Title       BRIAN HOROWITZ ET AL. v. YISHUN CHEN ET AL.




  Present: The Honorable       ANDREW J. GUILFORD
            Lisa Bredahl                         Not Present
            Deputy Clerk                  Court Reporter / Recorder           Tape No.
        Attorneys Present for Plaintiffs:            Attorneys Present for Defendants:

  Proceedings:          [IN CHAMBERS] ORDER REGARDING PLAINTIFFS’
                        MOTION TO DISMISS DEFENDANTS’ COUNTERCLAIMS
                        (DKT. 76)

 Plaintiffs Brian Horowitz and Creative Outdoor Distributors USA, Inc. filed this lawsuit
 against Defendants Yishun Chen and Zhaosheng Chen in March 2017. Defendants moved to
 dismiss some of the claims that Plaintiffs included in their first amended complaint. (Dkt. No.
 18.) The Court granted Defendants’ motion to dismiss with leave to amend. (Dkt. No. 35.)
 Rather than just filing a second amended complaint addressing the deficiencies highlighted by
 the Court’s order, Plaintiffs moved to amend their complaint to replead a cause of action and
 add some new causes of action. (Dkt. No. 44.) The Court granted-in-part and denied-in-part
 the motion for leave to amend. (Dkt. 59.)

 Now that Plaintiffs have filed their second amended complaint (Dkt. 61), they turn their
 attention to attacking Defendants’ answer and counterclaims (Dkt. 63). Plaintiffs argue that all
 three of Defendants’ counterclaims should be dismissed for failing to meet the appropriate
 pleading standard. (Dkt. 76.)

 The Court GRANTS Plaintiffs’ motion. (Dkt. No. 76.)

 1. BACKGROUND

 The Court’s order regarding Plaintiffs’ motion to amend set out most of the relevant
 background (Dkt. 59) and there is background information in the first order regarding
 Defendants’ motion (Dkt. 35) as well. Not much has changed since these two orders issued,
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 including the amount of progress in this case. There’s no reason to restate any of that
 information here. Instead, the Court starts the story from where it left off.

 After the Court issued its order regarding Plaintiffs’ motion to amend,
 Defendants timely filed their answer and counterclaims. (Dkt. 63.) In it, they allege three
 claims: 1) declaratory judgment of invalidity of U.S. Patent No. 9,145,154; 2) declaratory
 judgment of invalidity of U.S. Patent No. D748,739; and 3) infringement of U.S. Patent No.
 8,011,686.

 Defendants allege that Horowitz owns Creative Outdoor. (Dkt. 63 at 15, ¶ 6.) Defendants
 allege that Horowitz improperly filed for and obtained two patents for wagon designs
 “derived from” Defendants’ ’686 Patent, namely, the ’154 and D739 Patents. (Id. at 18, ¶ 19.)
 According to the counterclaims, Plaintiffs’ two patents are “complete imitation and derivative
 designs” of Defendants’ patent. (Id.) In the following paragraphs, Defendants allege that the
 ’154 Patent depicts a folding wagon “similar to the 686 wagon design” that “only adds a few
 minor modifications.” (Id. at 18, ¶ 21.) Defendants allege that D739 is “essentially the same
 design as the 154 Patent.” (Id.) Defendants further state these two patents “must both be
 deemed invalid by the Court in that they are obvious in light of the prior art including, but not
 limited to the 686 patent wagon design[].” (Id. at 18, ¶ 22.) In Counts 1 and 2, Defendants
 allege the ’154 and D739 Patents are invalid under one or more of 35 U.S.C. §§ 101, 102, 103,
 and/or 112. (Id. at 19, ¶ 26; id. at 20, ¶ 29.)

 Defendants also allege that both Plaintiffs have been “selling and continuing to flood the
 market with their copycat infringing products covered under the 154 patent and 739 patent
 wagon designs.” (Id. at 19, ¶ 23.) Defendants allege that these products infringe the ’686
 Patent. (Id.; id. at 21, ¶ 33.)

 2. LEGAL STANDARD

 Federal Rule of Civil Procedure 8(a)(2) asks for “a short plain statement of the claim showing
 that the pleader is entitled to relief.” With that liberal pleading standard, the well-established
 purpose of a motion to dismiss under Rule 12(b)(6) is “to test the formal sufficiency of the
 statement of the claim to relief.” 5B C. Wright & A. Miller, Federal Practice and Procedure §
 1356, p. 354 (3d ed. 2004). “[D]etailed factual allegations” aren’t necessary at this early stage,
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 but “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory
 statements” just won’t cut it. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation
 marks omitted). And, of course, it’s well-settled that courts must assume that “all the
 allegations in the complaint are true (even if doubtful in fact).” See Bell Atlantic Corp. v.
 Twombly, 550 U.S. 544, 555 (2007).

 3. ANALYSIS

          4.1    Defendants’ Counterclaims for Invalidity

 The crux of Plaintiffs’ arguments regarding the invalidity counterclaims is that they are
 “conclusory and contradictory in nature.” (Dkt. 83 at 8.) Plaintiffs observe that the
 counterclaims refer to the ’154 and D739 Patents as “complete imitation and derivative
 designs” of Defendants’ patent in one paragraph, but in the next paragraphs identify
 differences between Defendants’ patent and the ’154 and D739 Patents. (Id.) Plaintiffs also
 fault Defendants for failing to identify other prior art and failing to describe their other
 invalidity bases in more detail. (Id. at 14.)

 The Court is unpersuaded that Defendants’ counterclaims are inconsistent. Although it may
 not be the most appropriate phrase for the circumstances, the phrase “complete imitation and
 derivative design” in combination with the rest of Defendants’ counterclaims can be
 reasonably understood as meaning that Plaintiffs imitated or derived their designs, despite
 some additions or changes, from the design disclosed in Defendants’ patent.

 Regarding the factual sufficiency of the invalidity allegations, this Court has previously
 considered the sufficiency of counterclaims for declaratory judgment of patent invalidity. Core
 Optical Techs., LLC v. Fujitsu Network Commc’ns, Inc., No. SACV 16-00437 AG (JPRx), 2016 WL
 7496742, at *2 (C.D. Cal. July 8, 2016). In Core, the Court examined various cases regarding
 the sufficiency of invalidity counterclaims and concluded:

          [t]his patent case has an orderly progression of discovery delineated in this
          Court's Standing Patent Rules and Defendant has provided allegations stating
          its validity challenge. Although the factual content of Fujitsu's pleadings in this
          case is sparse, requiring more detail at this stage would undermine the
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          disclosure requirements set forth in this Court's Standing Patent Rules. See
          S.P.R. 2.5; Mortgage Grader, Inc. v. First Choice Loan Services, Inc., 811 F.3d 1314,
          1320 (2016) (“Like Patent Local Rules, the S.P.R.s ‘are essentially a series of
          case management orders that fall within a district court's broad power to
          control its docket and enforce its order.”).

 Core, 2016 WL 7496742, at *2 (citation to docket omitted). But unlike Core, the parties here
 have stipulated that the Court’s Standing Patent Rules not apply. (See Dkt. 34.) The parties
 have not stated that they intend to conduct any of the usual disclosures required under those
 rules, for example, exchanging infringement or invalidity contentions. The counterclaims
 explain only one basis for why Defendants believe Plaintiffs’ patents are invalid (obviousness
 over Defendants’ patent). Otherwise, the counterclaims only generally list other grounds for
 patent invalidity, including “one or more of” §§ 101, 102, 103, and/or 112. Under the
 particular circumstances of this case, Defendants have failed to provide sufficient factual
 allegations to support this list of invalidity grounds.

          4.2    Defendants’ Counterclaim for Patent Infringement

 Plaintiffs dispute Defendants’ infringement counterclaim on two main grounds: 1) as lacking
 specific factual allegations; and 2) as improperly directed at both Creative Outdoor and
 Horowitz. (Dkt. 76 at 6–11.) Plaintiffs also argue that Defendants are improperly alleging
 patent infringement based on Plaintiffs’ act of filing its own patents on the same technology.

 The last of these arguments is likely based on the title of one of the sections of Defendants’
 counterclaims: “Horowitz’s 739 Patent and 154 Patent are invalid and infringe upon the
 Chen’s original 686 Patent.” (Dkt. 63 at 18, § B (emphasis added).) The counterclaims don’t
 otherwise discuss an infringement theory on this basis. But in their opposition, Defendants
 appear to argue that this is their sole basis for separately arguing that Horowitz (as opposed to
 Creative Outdoor) infringes Defendants’ patents. (See Dkt. 83 at 7.) Defendants state,

          Counter Defendant Horowitz himself filed patents that are imitations and
          derivatives of Counter Claimant Yishun’s trademarked wagon patent designs .
          . . So long as it is alleged that Counter Defendants Horowitz and Creative


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          Outdoors have acted in a manner infringing upon Counter Claimant Chens’
          patents, such asserted Claims are more than adequate and sufficient[.]

 (Id.) Defendants have failed to present any authority for an argument that filing a patent (or
 otherwise owning a patent) on related technology constitutes an act of patent infringement.
 Indeed, this argument is unsupported by the Patent Act. See generally 35 U.S.C. § 271.
 Defendants’ infringement counterclaim against Horowitz fails.

 As to Plaintiffs’ arguments regarding the sufficiency of the pleadings, the Court agrees the
 allegations for this counterclaim are quite sparse. Plaintiffs focus on Defendants’ 1) failure to
 identify a particular accused product; 2) failure to identify a representative asserted claim; 3)
 failure to assert or explain how it believes each and every element of a representative asserted
 claim are infringed by an accused product; and 4) failure to identify particular theories of
 infringement (such as direct, indirect, or doctrine of equivalents).

 One very recent Federal Circuit case found a complaint alleging patent infringement of a
 patent involving “simple technology” met the Iqbal and Twombly pleading standard where it
 “identified the three accused products—by name and by attaching photos of the product
 packaging as exhibits—and alleged that the accused products meet ‘each and every element of
 at least one claim of the [asserted patents], either literally or equivalently.’” Disc Disease Sols. Inc.
 v. VGH Sols., Inc., No. 2017-1483, 2018 WL 2011468, at *3 (Fed. Cir. May 1, 2018). But this
 case doesn’t set a floor for the level of detail required to plead direct patent infringement. It’s
 simply one example where pleadings were sufficient.

 Another earlier case evaluating the sufficiency of a pleading in the context of a joint
 infringement claim under the Iqbal/Twombly standard is arguably more helpful in this regard. It
 concluded that to plead joint infringement there must be “facts sufficient to allow a
 reasonable inference that all steps of the claimed method are performed . . .” Lyda v. CBS
 Corp., 838 F.3d 1331, 1339 (Fed. Cir. 2016).

 Based on these cases, the Court finds Defendants’ counterclaim for patent infringement as to
 Creative Outdoor fails to allege sufficient facts to state a claim for relief under Iqbal and
 Twombly. At the very least, Defendants’ counterclaim needs to include facts sufficient to allow
 a reasonable inference that each limitation of one of the asserted patent claims is performed.

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 The Court also advises Defendants to refer to Disc Disease, 2018 WL 2011468, at *3 as one
 example of a patent infringement claim that met the plausibility standard.

 4. DISPOSITION

 The Court GRANTS Plaintiffs’ motion, as previously explained. (Dkt. No. 76.) Defendants
 may file a first amended counterclaim within 7 days of this order.

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                                                     Initials of Preparer       lmb




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